                     UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

In re:
                                                            Case No. 21-44887
SILVERSIDE SENIOR LIVING,                                   Chapter 11
LLC, et al., 1                                              Hon. Lisa S. Gretchko

         Debtors.
                                                            Jointly Administered


                   DEBTORS’ STATUS AND PROGRESS REPORT
         Silverside Senior Living, LLC (“Silverside”) and Graceway South Haven,

LLC (“Graceway”) (collectively, the “Debtors”), hereby submit the following status

report regarding the progress made since the filing of the Status Conference Report

on December 17, 2021 [Docket No. 165].

         1.    On June 7, 2021 (the “Petition Date”), Debtors filed their voluntary

petitions for relief under Subchapter V of Chapter 11 of the Bankruptcy Code with

this Court. The Debtors were authorized to continue to operate their businesses and

to manage their assets as Debtors in Possession pursuant to §§ 1107(a) and 1108 of

the Bankruptcy Code.




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  The debtors in these jointly administered proceedings along with the last four digits of their
respective federal tax id numbers are Silverside Senior Living, LLC (2357) [Case No. 21-44887-
lsg] and Graceway South Haven, LLC (9393) [Case No. 21-44888-lsg].

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      2.      On December 17, 2021, Debtors filed Debtors’ Status Conference

Report [Docket No. 165] (“Initial Report”) in response to the Court scheduling a

status conference in lieu of conducting a confirmation hearing on December 17 th.

      3.      At the time of the Initial Report, Debtors had completed their

accounting and had filed all required tax returns, including 10 returns with the

Michigan Unemployment Insurance Agency, 18 returns with the Michigan

Department of Treasury and 11 returns with the Internal Revenue Service.

      4.      Also, the Debtors successfully settled and collected $90,951.83 in

preference recoveries.

      5.      Since December 17th, the Debtors have issued final demands in

connection with $62,428.63 in preference payments. The Debtors have additional

preference claims of approximately $46,000.00 subject to final demands and further

collection efforts.

      6.      In early December, Graceway’s post-petition billing company, Varipro,

issued multiple demands to insurance carriers for collection on Graceway’s accounts

receivable.

      7.      Two insurance carriers advised Varipro that they were not required to

pay on the Graceway claims due to the bankruptcy filing. The remaining carriers

refused to respond.




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      8.     In mid-January, Debtors forwarded draft motions to compel the

insurance carriers to process the claims and to provide reconciliations and/or

accountings to the Debtors to the insurance carriers. The drafts were forwarded to

the contacts Varipro had identified with a note indicating that the motions would be

filed if a detailed response regarding the claims was not received by Varipro.

      9.     Priority Health and Blue Cross Blue Shield (“BCBS”) both responded

to the draft motions as follows:

             a. Through its in-house counsel, on February 8, 2022, BCBS provided

                Graceway a spreadsheet reconciling the claims submitted by

                Varipro. Based on the information provided by BCBS, claims with

                a date of service within one year of the Petition Date totaling

                $112,247.83 had not previously been submitted (the “Active BCBS

                Claims”). The remaining claims do not at this time appear eligible

                for payment. The Active BCBS Claims have been submitted to

                BCBS through the BCBS electronic claims submission process and

                have been provided to BCBS’ counsel in paper format. Debtors have

                requested an estimate from BCBS regarding the timeline for review

                and processing of the Active BCBS claims. BCBS has advised

                Debtors’ counsel that BCBS has an internal conference scheduled

                regarding the Graceway account on February 15, 2021 and will


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                follow up with Debtors counsel by February 16, 2022 regarding the

                processing the Active BCBS claims.

           b. On February 2, 2022, Priority Health provided Graceway a

                spreadsheet reconciling the claims submitted by Varipro. Pursuant

                to the spreadsheet, claims totaling $63,600.00 have been submitted

                by Priority Health for processing (the “Priority Health Agreed

                Claims”). Additional claims totaling $89,131.72 reflect a service

                date within one year of the Petition Date and appear eligible for

                payment (the “Additional Priority Health Claims”) pursuant to

                Section 108(a) of the Bankruptcy Code. Debtors are working with

                counsel for Priority Health to address the Section 108(a) tolling

                issues.

     10.   Debtors filed motions against Meridian Complete Health (“Meridian”),

Aetna Inc. (“Aetna”), and Mutual of Omaha (“MoO”).

           a. Aetna.: A detailed review of the Aetna claims reflects claims with a

                date of service within one year of the Petition Date totaling

                $173,045.00. Counsel for Aetna responded informally to the motion

                filed against it. Aetna and the Debtors have submitted a stipulation

                and proposed Order resolving the motion filed against Aetna

                requiring Aetna to provide the Debtors with a reconciliation and/or


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               accounting of the claims by March 4, 2022 and to process the claims

               eligible for payment by April 4, 2022.

          b. Meridian: Meridian has not responded to the Motion for Entry of an

               Order Compelling Meridian Complete Health to Process Claims and

               to Provide Debtors with an Accounting and/or Reconciliation of

               Claims [Docket No. 175]. Debtors will file a Certificate of No

               Response on February 15, 2022 for entry of an order requiring

               Meridian to provide a reconciliation and/or accounting of the claims

               submitted by Varipro on or before February 25, 2022. Debtors have

               determined that claims against Meridian with service dates within

               one year of the Petition Date totaling $217,607.83 are otherwise

               eligible for payment.

          c. MoO: Varipro has identified claims with dates of service within one

               year of the Petition Date against MoO with respect to one patient

               totaling $31,800.00. As of the date of this report, MoO has not

               responded to the Motion for Entry of an Order Compelling Mutual

               of Omaha to Process Claims and to Provide Debtors with an

               Accounting and/or Reconciliation of Claims [Docket No. 177] filed

               on February 1, 2022. Counsel for MoO contacted Debtors’ counsel

               on February 14, 2022. Debtors anticipate resolving the motion filed


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                  against MoO with a stipulation regarding the production of a

                  reconciliation and processing of the claims.

      11.      Varipro also identified claims against Medicare in the Graceway billing

system that appear to be viable. However, Varipro was not able to identify a contact

for Medicare in order to submit the claims for processing. The United States

Attorney’s Office was able to provide Varipro with a Medicare contact. Varipro is

working with Medicare to process the claims remining on the Graceway records.

Based on the Graceway records, claims totaling at least $138,000.00 reflect service

dates within one year of the Petition Date and are eligible for payments.

      12.      As reported in the Initial Report, on December 10, 2021, Graceway

submitted an Employee Retention Credit Application (the “ERC Application”)

under the provisions of Section 505 for a prompt determination seeking a refundable

credit in the total amount of $427,371.40. As of the date of this report, Debtors have

not received a response from the Internal Revenue Service regarding the ERC

Application.

      13.      The Debtors and Varipro have worked diligently since the Initial Report

to verify potential collection on Graceway’s accounts receivable and Debtors have

made progress regarding the recovery on the additional preference claims.

      14.      However, despite the efforts of Varipro and Graceway, the viability of

potential collectable accounts receivable will not be confirmed and verified for an


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additional three weeks. Debtors believe that the projections submitted with the

Amended Plan will contain more meaningful information for creditors if the

collectable accounts receivable and recovery on additional preference claims can be

verified.

      15.   The United States Trustee, the Subchapter V Trustee, the United States

of America on behalf of the Internal Revenue Service and the Debtors’ largest

secured creditor, Chippewa Valley have agreed to an extension of the deadline to

file the Debtors’ Amended Plan of Liquidation.

                                      Respectfully submitted,

                                      STROBL SHARP PLLC


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